                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )       NO. 3:10-00258
                                                    )       JUDGE CAMPBELL
MIGUEL PADILLA                                      )


                                            ORDER

       Pending before the Court is an Unopposed Motion for Extension of Time (Docket No. 362).

The Motion is GRANTED.

       The Government shall have until August 20, 2012, to file its response to Defendant’s Motion

for Exculpatory Evidence (Docket No. 335).

       It is so ORDERED.

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                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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